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 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    )
                                  ) CR S-05-456 FCD
12                    Plaintiff, )
                                  ) STIPULATION AND ORDER
13                v.              )
                                  ) DATE: August 28, 2006
14   RAQUEL SOLORIO,              ) TIME: 9:30 a.m.
                                  ) CTRM: Hon. Frank C. Damrell, Jr.
15                    Defendant. )
     _____________________________)
16
17         The United States of America, through its counsels of record,
18   McGregor W. Scott, United States Attorney for the Eastern District
19   of California, and William S. Wong, Assistant United States
20   Attorney, and defendant Raquel Solorio, through her counsel, Dina
21   Santos, Esq., stipulate and agree to the following revised motion
22   schedule:
23         1.    Government's response to defendant's motion to sever
                 to be filed on August 16, 2006;
24
           2.    Defendants' reply, if any, to be filed by August 23,
25               2006; and
26         3.    Status and hearing on the motion August 28, 2006, at
                 9:30 a.m.
27   ///
28   ///

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 1        The government needs additional time to research and prepare
 2   its response to the defendant's motion.            During the last few weeks,
 3   counsel for the government has been on annual leave.            Accordingly,
 4   the parties stipulate that time be excluded for the pendency of this
 5   motion pursuant to 18 U.S.C. §3161(h)(1)(F)- delay resulting from
 6   any pretrial motion and 18 U.S.C. §3161(h)(8)(B)(ii) - additional
 7   time to adequately prepare for pretrial proceedings.
 8                                                 Respectfully submitted,
 9                                                 McGREGOR W. SCOTT
                                                   United States Attorney
10
11   DATED: August 4, 2006                By: /s/ William S. Wong
                                              WILLIAM S. WONG
12                                            Assistant U.S. Attorney
                                              Attorneys for Plaintiff
13
14
     DATED: August 4, 2006               By:       /s/ Dina L. Santos
15                                                 DINA L. SANTOS, ESQ.
                                                   Attorney for Defendant
16                                                 RAQUEL SOLORIO
17   ________________________________________________________________
18                                         ORDER
19        UPON GOOD CAUSE SHOWN, the revised law and motion schedule is
20   adopted.    Furthermore, time is excluded for the reasons set forth
21   above.
22        IT IS SO ORDERED.
23
     DATED: August 8, 2006
24                                           /s/ Frank C. Damrell Jr.
                                             HONORABLE FRANK C. DAMRELL, JR.
25                                           UNITED STATES DISTRICT COURT JUDGE
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